                                 Case 05-11630-bam                       Doc 1       Entered 03/08/05 12:52:59                                 Page 1 of 62
(Official Form 1) (12/03)
FORM B1                                United States Bankruptcy Court
                                                          District of Nevada
                                                                                                                                                   Voluntary Petition
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Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
 Ahmadzai, Ghusudin                                                                               Ahmadzai, Ida M.


All Other Names used by the Debtor in the last 6 years                                         All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
  AKA Ghusudin W. Ahmadzai; AKA Ghusudin Wally                                                      AKA Ida Mary Ahmadzai; AKA Ida Ahmadzai
  Ahmadzai; AKA Philip Ahmadzai


Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                         Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.
(if more than one, state all):                                                                 (if more than one, state all):
                      xxx-xx-2532                                                                                      xxx-xx-9969
Street Address of Debtor (No. & Street, City, State & Zip Code):                               Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  4701 Ashington St.                                                                               4701 Ashington St.
  Las Vegas, NV 89147-6069                                                                         Las Vegas, NV 89147-6069


County of Residence or of the                                                                  County of Residence or of the
Principal Place of Business:               Clark                                               Principal Place of Business:  Clark

Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor
(if different from street address above):


                                                   Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)
    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
    preceding the date of this petition or for a longer part of such 180 days than in any other District.
       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)                                               Chapter or Section of Bankruptcy Code Under Which
       Individual(s)                         Railroad                                                               the Petition is Filed (Check one box)
       Corporation                           Stockbroker                                                Chapter 7                   Chapter 11          Chapter 13
       Partnership                           Commodity Broker                                           Chapter 9                   Chapter 12
       Other                                 Clearing Bank                                              Sec. 304 - Case ancillary to foreign proceeding
                   Nature of Debts (Check one box)                                                                          Filing Fee (Check one box)
       Consumer/Non-Business               Business                                                     Full Filing Fee attached
                                                                                                        Filing Fee to be paid in installments (Applicable to individuals only.)
         Chapter 11 Small Business (Check all boxes that apply)                                         Must attach signed application for the court's consideration
       Debtor is a small business as defined in 11 U.S.C. § 101                                         certifying that the debtor is unable to pay fee except in installments.
       Debtor is and elects to be considered a small business under                                     Rule 1006(b). See Official Form No. 3.
       11 U.S.C. § 1121(e) (Optional)
Statistical/Administrative Information (Estimates only)                                                                                            THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there
      will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors                      1-15          16-49       50-99   100-199          200-999    1000-over



Estimated Assets
     $0 to            $50,001 to    $100,001 to    $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000      $500,000       $1 million        $10 million     $50 million           $100 million         $100 million



Estimated Debts
     $0 to            $50,001 to    $100,001 to    $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000      $500,000       $1 million        $10 million     $50 million           $100 million         $100 million
                      Case
(Official Form 1) (12/03)       05-11630-bam               Doc 1        Entered 03/08/05 12:52:59                Page 2 of 62
                                                                             Name of Debtor(s):                                    FORM B1, Page 2
Voluntary Petition
(This page must be completed and filed in every case)                          Ahmadzai, Ghusudin
                                                                               Ahmadzai, Ida M.
                              Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
Location                                                                Case Number:                          Date Filed:
Where Filed: - None -
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                    Case Number:                          Date Filed:
- None -
District:                                                                    Relationship:                         Judge:


                                                                       Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Exhibit A
I declare under penalty of perjury that the information provided in this     (To be completed if debtor is required to file periodic reports (e.g., forms
petition is true and correct.                                                10K and 10Q) with the Securities and Exchange Commission pursuant to
[If petitioner is an individual whose debts are primarily consumer debts     Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
and has chosen to file under chapter 7] I am aware that I may proceed        requesting relief under chapter 11)
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand         Exhibit A is attached and made a part of this petition.
the relief available under each such chapter, and choose to proceed under
chapter 7.                                                                                                       Exhibit B
I request relief in accordance with the chapter of title 11, United States                     (To be completed if debtor is an individual
Code, specified in this petition.                                                              whose debts are primarily consumer debts)
                                                                             I, the attorney for the petitioner named in the foregoing petition, declare
                                                                             that I have informed the petitioner that [he or she] may proceed under
 X       /s/ Ghusudin Ahmadzai
                                                                             chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Signature of Debtor Ghusudin Ahmadzai                                   explained the relief available under each such chapter.

 X       /s/ Ida M. Ahmadzai                                                  X    /s/ Roger P. Croteau                         March 8, 2005
     Signature of Joint Debtor Ida M. Ahmadzai                                    Signature of Attorney for Debtor(s)          Date
                                                                                   Roger P. Croteau
                                                                                                               Exhibit C
     Telephone Number (If not represented by attorney)                       Does the debtor own or have possession of any property that poses
        March 8, 2005                                                        a threat of imminent and identifiable harm to public health or
                                                                             safety?
     Date
                                                                                    Yes, and Exhibit C is attached and made a part of this petition.
                           Signature of Attorney                                    No
 X          /s/ Roger P. Croteau
                                                                                              Signature of Non-Attorney Petition Preparer
     Signature of Attorney for Debtor(s)
                                                                             I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      Roger P. Croteau 4958                                                  § 110, that I prepared this document for compensation, and that I have
     Printed Name of Attorney for Debtor(s)                                  provided the debtor with a copy of this document.
      Roger P. Croteau & Associates Ltd.
     Firm Name                                                                    Printed Name of Bankruptcy Petition Preparer
      720 South Fourth Street, Suite 202
      Las Vegas, NV 89101
                                                                                  Social Security Number (Required by 11 U.S.C.§ 110(c).)
     Address
                           Email: croteau@croteaulaw.com
      (702) 254-7775 Fax: (702) 228-7719
     Telephone Number                                                             Address
      March 8, 2005
     Date                                                                         Names and Social Security numbers of all other individuals who
                                                                                  prepared or assisted in preparing this document:
               Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,            If more than one person prepared this document, attach additional
United States Code, specified in this petition.                                   sheets conforming to the appropriate official form for each person.

 X                                                                            X
     Signature of Authorized Individual                                           Signature of Bankruptcy Petition Preparer


     Printed Name of Authorized Individual                                        Date

                                                                                  A bankruptcy petition preparer's failure to comply with the
     Title of Authorized Individual                                               provisions of title 11 and the Federal Rules of Bankruptcy
                                                                                  Procedure may result in fines or imprisonment or both. 11
                                                                                  U.S.C. § 110; 18 U.S.C. § 156.
     Date
                           Case 05-11630-bam                            Doc 1           Entered 03/08/05 12:52:59   Page 3 of 62
B 201 (11/03)

                                                    UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF NEVADA
                                                 NOTICE TO INDIVIDUAL CONSUMER DEBTOR
                          The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code
                          under which you may file a bankruptcy petition. The bankruptcy law is complicated and not easily
                          described. Therefore, you should seek the advice of an attorney to learn of your rights and
                          responsibilities under the law should you decide to file a petition with the court. Court employees
                          are prohibited from giving you legal advice.

Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)
             1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
        2. Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of the
Bankruptcy Code.
         3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the
purpose for which you filed the bankruptcy petition will be defeated.
         4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be
responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or
personal injury caused by driving while intoxicated from alcohol or drugs.
         5. Under certain circumstances you may keep property that you have purchased subject to valid security interest. Your
attorney can explain the options that are available to you.
Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing fee plus $39
administrative fee)
          1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to
pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
        2. Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them,
using your future earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five years.
Your plan must be approved by the court before it can take effect.
        3. Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you continue
to make payments under the plan.
         4. After completion of payments under your plan, your debts are discharged except alimony and support payments, student
loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated
from alcohol or drugs, and long term secured obligations.
Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a Chapter 11 petition should be reviewed with an attorney.
Chapter 12: Family Farmer ($200 filing fee plus $39 administrative fee)
        Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many
ways similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm.

I, the debtor, affirm that I have read this notice.


 /s/ Ghusudin Ahmadzai                                   /s/ Ida M. Ahmadzai                       March 8, 2005
 Debtor's Signature                                      Joint Debtor's Signature                  Date                       Case Number




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                                                                   United States Bankruptcy Court
                                                                                      District of Nevada
  In re          Ghusudin Ahmadzai,                                                                                       Case No.
                 Ida M. Ahmadzai
                                                                                                                 ,
                                                                                                Debtors                   Chapter                 7




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets.
     Add the amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.


                                                                                                                       AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                          ASSETS                 LIABILITIES           OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                 1                   280,000.00


B - Personal Property                                              Yes                 4                     7,374.03


C - Property Claimed as Exempt                                     Yes                 1


D - Creditors Holding Secured                                      Yes                 1                                            126,461.00
      Claims
E - Creditors Holding Unsecured                                    Yes                 4                                             72,517.63
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                 15                                           695,062.93
      Nonpriority Claims
G - Executory Contracts and                                        Yes                 1
      Unexpired Leases

H - Codebtors                                                      Yes                 1


I - Current Income of Individual                                   Yes                 1                                                                   3,612.33
      Debtor(s)
J - Current Expenditures of                                        Yes                 2                                                                   3,650.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                             31


                                                                              Total Assets                 287,374.03


                                                                                                   Total Liabilities                894,041.56




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   In re          Ghusudin Ahmadzai,                                                                                    Case No.
                  Ida M. Ahmadzai
                                                                                                               ,
                                                                                                 Debtors
                                                                   SCHEDULE A. REAL PROPERTY
       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
 cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
 the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
 labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired
 Leases.
       If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. (See Schedule D.) If no entity
 claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
 Claimed as Exempt.


                                                                                                               Husband, Current Market Value of
                                                                                                                          Debtor's Interest in
                  Description and Location of Property                                 Nature of Debtor's       Wife,      Property, without             Amount of
                                                                                       Interest in Property     Joint, or                               Secured Claim
                                                                                                              Community Deducting  any Secured
                                                                                                                          Claim or Exemption

Residence                                                                              Joint tenant                 J              280,000.00                  126,461.00
Location: 4701 Ashington St., Las Vegas NV
Tiburon 2 Phase 2, Plat Book 76, Page 98, Lot 72,
Block 4. APN: 163-20-312-017




                                                                                                               Sub-Total >         280,000.00          (Total of this page)

                                                                                                                    Total >        280,000.00
   0      continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
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  In re          Ghusudin Ahmadzai,                                                                                           Case No.
                 Ida M. Ahmadzai
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

     Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

     If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.     Cash on hand                                           X

2.     Checking, savings or other financial                       Checking Account No. 449-6                                             J                            49.03
       accounts, certificates of deposit, or                      Washington Mutual, Las Vegas, NV
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                          X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                           Household Goods and Furnishings                                        J                        4,000.00
       including audio, video, and                                Location: 4701 Ashington Sr., Las Vegas NV
       computer equipment.

5.     Books, pictures and other art                          X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                           Wearing Apparel                                                        J                        1,000.00
                                                                  Location: 4701 Ashington Sr., Las Vegas NV

7.     Furs and jewelry.                                          Wedding Bands                                                          J                          500.00
                                                                  Location: 4701 Ashington St., Las Vegas NV

8.     Firearms and sports, photographic,                         Hunting Rifle                                                          J                          150.00
       and other hobby equipment.                                 Location: 4701 Ashington St., Las Vegas NV

                                                                  Hunting Rifle                                                          J                            75.00
                                                                  Location: 4701 Ashington St., Las Vegas NV




                                                                                                                                         Sub-Total >            5,774.03
                                                                                                                             (Total of this page)

  3      continuation sheets attached to the Schedule of Personal Property

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  In re          Ghusudin Ahmadzai,                                                                                           Case No.
                 Ida M. Ahmadzai
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

9.     Interests in insurance policies.                           Life Insurance Policy No. P1027522L                                    H                              0.00
       Name insurance company of each                             No Cash Surrender Value
                                                                  Face Value $250,000.00
       policy and itemize surrender or
                                                                  American General Life Insurance Company
       refund value of each.                                      P. O. Box 4373, Houston, TX 77210-4373

10. Annuities. Itemize and name each                          X
    issuer.

11. Interests in IRA, ERISA, Keogh, or                            Pension at Los Angeles Unified School District                         W                      Unknown
    other pension or profit sharing                               $620.00 a month
    plans. Itemize.

12. Stock and interests in incorporated                       X
    and unincorporated businesses.
    Itemize.

13. Interests in partnerships or joint                        X
    ventures. Itemize.

14. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

15. Accounts receivable.                                      X

16. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

17. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

18. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule of Real Property.




                                                                                                                                         Sub-Total >                  0.00
                                                                                                                             (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Ghusudin Ahmadzai,                                                                                           Case No.
                 Ida M. Ahmadzai
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

19. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

20. Other contingent and unliquidated                         X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

21. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

22. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

23. Automobiles, trucks, trailers, and                            1992 Mercedes-Benz 190E 2.6 Sedan 4D                                   J                        1,600.00
    other vehicles and accessories.                               140,000 Miles - Kelley Blue Book Value
                                                                  Location: 4701 Ashington St., Las Vegas NV

24. Boats, motors, and accessories.                           X

25. Aircraft and accessories.                                 X

26. Office equipment, furnishings, and                        X
    supplies.

27. Machinery, fixtures, equipment, and                       X
    supplies used in business.

28. Inventory.                                                X

29. Animals.                                                  X

30. Crops - growing or harvested. Give                        X
    particulars.

31. Farming equipment and                                     X
    implements.

32. Farm supplies, chemicals, and feed.                       X


                                                                                                                                         Sub-Total >            1,600.00
                                                                                                                             (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Ghusudin Ahmadzai,                                                                                           Case No.
                 Ida M. Ahmadzai
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

33. Other personal property of any kind                       X
    not already listed.




                                                                                                                                         Sub-Total >                  0.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >           7,374.03
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
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   In re          Ghusudin Ahmadzai,                                                                                   Case No.
                  Ida M. Ahmadzai
                                                                                                                   ,
                                                                                                Debtors
                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:
 [Check one box]
    11 U.S.C. §522(b)(1): Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.
    11 U.S.C. §522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                             been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
                             period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest
                             is exempt from process under applicable nonbankruptcy law.

                                                                                        Specify Law Providing              Value of          Current Market Value of
                    Description of Property                                                Each Exemption                  Claimed              Property Without
                                                                                                                          Exemption           Deducting Exemption
Real Property
Residence                                                                         Nev. Rev. Stat. §§ 115.010,                153,539.00                 280,000.00
Location: 4701 Ashington St., Las Vegas NV                                        21.090(1)(l)
Tiburon 2 Phase 2, Plat Book 76, Page 98, Lot
72, Block 4. APN: 163-20-312-017

Household Goods and Furnishings
Household Goods and Furnishings                                                   Nev. Rev. Stat. § 21.090(1)(b)                  4,000.00                 4,000.00
Location: 4701 Ashington Sr., Las Vegas NV

Wearing Apparel
Wearing Apparel                                                                   Nev. Rev. Stat. § 21.090(1)(b)                  1,000.00                 1,000.00
Location: 4701 Ashington Sr., Las Vegas NV

Furs and Jewelry
Wedding Bands                                                                     Nev. Rev. Stat. § 21.090(1)(b)                   500.00                     500.00
Location: 4701 Ashington St., Las Vegas NV

Firearms and Sports, Photographic and Other Hobby Equipment
Hunting Rifle                                   Nev. Rev. Stat. § 21.090(1)(i)                                                     150.00                     150.00
Location: 4701 Ashington St., Las Vegas NV

Interests in Insurance Policies
Life Insurance Policy No. P1027522L                                               Nev. Rev. Stat. § 21.090(1)(k)                      0.00                       0.00
No Cash Surrender Value
Face Value $250,000.00
American General Life Insurance Company
P. O. Box 4373, Houston, TX 77210-4373

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Pension at Los Angeles Unified School District      Nev. Rev. Stat. § 21.090(1)(q)                                                    0.00               Unknown
$620.00 a month

Automobiles, Trucks, Trailers, and Other Vehicles
1992 Mercedes-Benz 190E 2.6 Sedan 4D                                              Nev. Rev. Stat. § 21.090(1)(f)                  1,600.00                 1,600.00
140,000 Miles - Kelley Blue Book Value
Location: 4701 Ashington St., Las Vegas NV




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                               Case 05-11630-bam                             Doc 1         Entered 03/08/05 12:52:59                       Page 11 of 62
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   In re          Ghusudin Ahmadzai,                                                                                              Case No.
                  Ida M. Ahmadzai
                                                                                                                     ,
                                                                                                      Debtors
                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all
 secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME,                                   O                                                            O    N   I
                                                                 D   H       DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                  B   W           NATURE OF LIEN, AND                          I    Q   U                       PORTION IF
                                                                 T   J     DESCRIPTION AND MARKET VALUE                       N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                    O                                                            G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                     C                OF PROPERTY
                                                                 R
                                                                                    SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. 6852911194                                                 7/1998                                                      E
                                                                       Mortgage                                                    D

Wells Fargo Home Mortgage, Inc.                                        Residence
P. O. Box 10335                                                        Location: 4701 Ashington St., Las Vegas
                                                                       NV
Des Moines, IA 50306-0335
                                                                     J Tiburon 2 Phase 2, Plat Book 76, Page                       X
                                                                       98, Lot 72, Block 4. APN: 163-20-312-017
                                                                          Value $                           280,000.00                          126,461.00                   0.00
Account No.




                                                                          Value $
Account No.




                                                                          Value $
Account No.




                                                                          Value $
                                                                                                                           Subtotal
 0
_____ continuation sheets attached                                                                                                              126,461.00
                                                                                                                  (Total of this page)
                                                                                                                              Total             126,461.00
                                                                                                    (Report on Summary of Schedules)

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  In re          Ghusudin Ahmadzai,                                                                                      Case No.
                 Ida M. Ahmadzai
                                                                                                                   ,
                                                                                                 Debtors
                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
     and the creditor and may be provided if the debtor chooses to do so.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
     on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or
     the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

         If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
     "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
     columns.)

          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E
     in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

          Extensions of credit in an involuntary case
       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

          Wages, salaries, and commissions
       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
    independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
    cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(3).

          Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

          Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(6).

          Alimony, Maintenance, or Support
          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

   *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
    adjustment.

                                                                                      3   continuation sheets attached
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                               Case 05-11630-bam                             Doc 1         Entered 03/08/05 12:52:59                     Page 13 of 62
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   In re            Ghusudin Ahmadzai,                                                                                          Case No.
                    Ida M. Ahmadzai
                                                                                                                   ,
                                                                                                      Debtors
                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                              (Continuation Sheet)
                                                                                                                           Wages, salaries, and commissions
                                                                                                                                         TYPE OF PRIORITY
                                                                 C   Husband, Wife, Joint, or Community                     C    U   D
             CREDITOR'S NAME,                                    O                                                          O    N   I
           AND MAILING ADDRESS                                   D   H                                                      N    L   S                        AMOUNT
                                                                 E              DATE CLAIM WAS INCURRED                     T    I   P    TOTAL AMOUNT      ENTITLED TO
            INCLUDING ZIP CODE,                                  B   W
                                                                              AND CONSIDERATION FOR CLAIM                   I    Q   U      OF CLAIM
           AND ACCOUNT NUMBER                                    T   J                                                      N    U   T                        PRIORITY
                                                                 O   C                                                      G    I   E
              (See instructions.)                                R                                                          E    D   D
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                              Potential Claim                                         E
                                                                                                                                 D

Andres Padilla Garcia
3520 S. Jones
Las Vegas, NV 89103
                                                                     J                                                           X

                                                                                                                                               Unknown                      0.00
Account No.                                                              Potential Claim

Daniel Vasquez
4363 Coyote Crest Rd.
Las Vegas, NV 89147
                                                                     J                                                           X

                                                                                                                                               Unknown                      0.00
Account No.




Account No.




Account No.




       1
Sheet _____    3
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                                    0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                          Case No.
                    Ida M. Ahmadzai
                                                                                                                   ,
                                                                                                      Debtors
                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                              (Continuation Sheet)
                                                                                                                            Taxes and Certain Other Debts
                                                                                                                             Owed to Governmental Units
                                                                                                                                         TYPE OF PRIORITY
                                                                 C   Husband, Wife, Joint, or Community                     C    U   D
             CREDITOR'S NAME,                                    O                                                          O    N   I
           AND MAILING ADDRESS                                   D   H                                                      N    L   S                        AMOUNT
                                                                 E              DATE CLAIM WAS INCURRED                     T    I   P    TOTAL AMOUNT      ENTITLED TO
            INCLUDING ZIP CODE,                                  B   W
                                                                              AND CONSIDERATION FOR CLAIM                   I    Q   U      OF CLAIM
           AND ACCOUNT NUMBER                                    T   J                                                      N    U   T                        PRIORITY
                                                                 O   C                                                      G    I   E
              (See instructions.)                                R                                                          E    D   D
                                                                                                                            N    A
                                                                                                                            T    T
Account No. NWC3004763                                                   2/20/2001                                               E
                                                                                                                                 D

Employer Insurance Co. of Nevada                                         Trade debt
C/O Allied Interstate, Inc.
23945 Clabasas Rd., #210
                                                                     J                                                           X
Calabasas, CA 91302

                                                                                                                                                8,910.63                    0.00
Account No. SQ2000072800888                                              7/28/2000

Internal Revenue Service                                                 Federal Tax Lien
Stop 5028
4750 W. Oakey Blvd.
                                                                     H                                                           X
Las Vegas, NV 89102

                                                                                                                                               56,000.00                    0.00
Account No.                                                              Judgment

Labor Commission Nevada
555 E. Washington Ave., Ste. 4100
Las Vegas, NV 89101
                                                                     H                                                           X X

                                                                                                                                               Unknown              Unknown
Account No. SQ99051100736                                                5/11/1999

Nevada Department of Taxation                                            State Tax Lien
Attn: Bankruptcy Section
555 E. Washington Ave., #1300
                                                                     H                                                           X
Las Vegas, NV 89101

                                                                                                                                                5,229.00                    0.00
Account No.                                                              5/2000

NV Dept. of Employment Training and                                      Judgment
Reh.
500 E. Third St.
                                                                     H                                                           X X
Carson City, NV 89713

                                                                                                                                               Unknown              Unknown
       2
Sheet _____    3
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                               70,139.63
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                            Case No.
                    Ida M. Ahmadzai
                                                                                                                     ,
                                                                                                      Debtors
                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                              (Continuation Sheet)
                                                                                                                              Taxes and Certain Other Debts
                                                                                                                               Owed to Governmental Units
                                                                                                                                           TYPE OF PRIORITY
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                    O                                                            O    N   I
           AND MAILING ADDRESS                                   D   H                                                        N    L   S                        AMOUNT
                                                                 E              DATE CLAIM WAS INCURRED                       T    I   P    TOTAL AMOUNT      ENTITLED TO
            INCLUDING ZIP CODE,                                  B   W
                                                                              AND CONSIDERATION FOR CLAIM                     I    Q   U      OF CLAIM
           AND ACCOUNT NUMBER                                    T   J                                                        N    U   T                        PRIORITY
                                                                 O   C                                                        G    I   E
              (See instructions.)                                R                                                            E    D   D
                                                                                                                              N    A
                                                                                                                              T    T
Account No. A407537                                                      8/30/1999                                                 E
                                                                                                                                   D

State of Nevada                                                          Judgment
Office of the Attorney General
555 E. Washington Ave., Ste. 3900
                                                                     H                                                             X
Las Vegas, NV 89101

                                                                                                                                                  2,378.00                    0.00
Account No.                                                              3/2000

Treasurer Clark County                                                   Redemption
P. O. Box 551220
Las Vegas, NV 89155-1220
                                                                     H                                                             X

                                                                                                                                                 Unknown              Unknown
Account No.




Account No.




Account No.




       3
Sheet _____    3
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                                  2,378.00
Schedule of Creditors Holding Unsecured Priority Claims                                                           (Total of this page)
                                                                                                                              Total              72,517.63
                                                                                                    (Report on Summary of Schedules)

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   In re          Ghusudin Ahmadzai,                                                                                        Case No.
                  Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors

                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                       AMOUNT OF CLAIM
                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
                                                                                   C
                                                                                                                                           E   D   D
                                                                                                                                           N   A
Account No. 20583/1177-1                                                               Medical                                             T   T
                                                                                                                                               E
                                                                                                                                               D

Alan J. Arnold, M.D.
C/O Acctcorp of Southern Nevada                                                    J                                                           X
4955 S. Durango, Ste. 177
Las Vegas, NV 89113-0155
                                                                                                                                                                         354.92
Account No. 026745134019347863                                                         10/2003
                                                                                       Credit card purchases
American Express
P. O. Box 297871                                                                   J                                                           X
Fort Lauderdale, FL 33329

                                                                                                                                                                       1,711.00
Account No. 860045992                                                                  7/28/2000
                                                                                       Possible Duplicate Account
American Express
P. O. Box 297871                                                                   H                                                           X
Fort Lauderdale, FL 33329

                                                                                                                                                                     28,453.00
Account No. 5278401039                                                                 2/2001
                                                                                       Credit card purchases
American Express
P. O. Box 297871                                                                   J                                                           X
Fort Lauderdale, FL 33329

                                                                                                                                                                      2,157.45

                                                                                                                                         Subtotal
 14 continuation sheets attached
_____                                                                                                                                                                32,676.37
                                                                                                                               (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 1C000782001/373273824682001                                                2/21/2001                                               E
                                                                                       Credit Card Purchases - Law Suit - Lien on              D

American Express Travel Mgmt. Svcs.                                                    House
American Expressway Tow                                                            H                                                           X
New York, NY 10001

                                                                                                                                                                    4,359.59
Account No. AXXXXXXXX                                                                  1/22/2001
                                                                                       Medical
APL
4230 Burnham Ave.                                                                  J                                                           X
Las Vegas, NV 89119

                                                                                                                                                                        88.40
Account No. 9601020/0171181/9404505C/KO023                                             10/92, 1/93, 12/94 & 7/96
                                                                                       Commercial Lease - Judgment, plus Attorney
Arrow Auto Associates                                                                  Fees and Costs.
C/O Stephen C. Duringer & Associates                                               H                                                           X
18002 Cowan, 1st. Fl.
Irvine, CA 92614-6812
                                                                                                                                                                  13,540.50
Account No. 4621-2010-3081-5273/3908-1075/                                             9/2/2004
                                                                                       Credit Card Purchases
Associates Credit Card Services, Inc.
6400 Las Colinas Blvd., Ste. 200                                                   J                                                           X
Irving, TX 75039-2900

                                                                                                                                                                   6,912.54
Account No. 335766                                                                     Trade debt

AutoZone
4850 S. Jones, #B                                                                  J                                                           X
Las Vegas, NV 89103

                                                                                                                                                                   1,643.00

            1 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  26,544.03
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 4168100015717513/1K24750/10712                                             6/8/2004                                                E
                                                                                       Credit card purchases                                   D

Bank of America
1825 E. Buckeye Rd.                                                                J                                                           X
Phoenix, AZ 85034

                                                                                                                                                                  20,384.00
Account No. 4024-0238-2140-5970                                                        Credit Card Purchases

Bank of America
P. O. Box 53137                                                                    J                                                           X
Phoenix, AZ 85072-3137

                                                                                                                                                                    2,619.16
Account No. 4024-0250-0011-5742                                                        2/2001
                                                                                       Credit Card Purchases
Bank of America
Dept.#AZ9-503-02-16                                                                W                                                           X
P. O. Box 53105
Phoenix, AZ 85072-3105
                                                                                                                                                                  16,202.56
Account No. 5425-7686-0021-5279                                                        1/2001
                                                                                       Credit Card Purchases
Bank of America
Dept.#AZ9-503-02-16                                                                J                                                           X
P. O. Box 53105
Phoenix, AZ 85072-3105
                                                                                                                                                                  11,233.71
Account No. 5425-7682-0122-0215                                                        7/1998
                                                                                       Credit Card Purchases
Bank of America
P. O. Box 53137                                                                    J                                                           X
Phoenix, AZ 85072-3137

                                                                                                                                                                   2,597.75

            2 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  53,037.18
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 4746-8600-0021-4864                                                        11/1999                                                 E
                                                                                       Credit Card Purchases                                   D

Bank of America Visa/Nations Bank
P. O. Box 85350                                                                    J                                                           X
Louisville, KY 40285-5350

                                                                                                                                                                    5,693.68
Account No. 12534481/0002179987                                                        10/2003
                                                                                       Possible Duplicate Account
Bank of America/RMA Holdings, LLC
C/O Risk Management Alternatives,                                                  J                                                           X
Inc.
P. O. Box 105044
Atlanta, GA 30348                                                                                                                                                 18,713.80
Account No. 5049-9480-1595                                                             Credit Card Purchases

CBUSA Sears
P. O. Box 6189                                                                     J                                                           X
Sioux Falls, SD 57117

                                                                                                                                                                      268.00
Account No. VSD2727410                                                                 12/21/2003
                                                                                       Medical
Center Emergency Physicians
P. O. Box 13909                                                                    J                                                           X
Philadelphia, PA 19101-3909

                                                                                                                                                                      275.00
Account No. 721-808-795-0                                                              1/17/2004
                                                                                       Credit Card Purchases
Chevron Credit Bank, N.A.
P. O. Box 5010 Sect. 230                                                           J                                                           X
Concord, CA 94524-0010

                                                                                                                                                                   2,500.00

            3 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  27,450.48
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                        C   U   D
                      CREDITOR'S NAME,                                         O                                                             O   N   I
                    AND MAILING ADDRESS                                        D   H                                                         N   L   S
                     INCLUDING ZIP CODE,
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                                                                                               DATE CLAIM WAS INCURRED AND                   T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                       (See instructions.)                                     R                                                             E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. G10406024RND                                                               Possible Duplicate Account                                E
                                                                                                                                                 D

Clark County
C/O R.L. Gresham/Carl Warren & Co.                                                 J                                                             X
2410 Fire Mesa St., Ste. 110
Las Vegas, NV 89128
                                                                                                                                                                    Unknown
Account No. A415748                                                                    Lis Pendens - Paid in full on 9/10/2001

Curtis Branom
4339 Coyote Crest Ct.                                                              J                                                                 X
Las Vegas, NV 89147

                                                                                                                                                                    10,000.00
Account No. DR1639548/631473/651827                                                    2/27/2001 - 4/28/2004
                                                                                       Medical
Desert Radiologists
C/O Professional Billing                                                           J                                                             X
2355 Redrock St., #103
Las Vegas, NV 89146-3161
                                                                                                                                                                        234.79
Account No. 99-A-410530-C                                                              10/29/1999
                                                                                       Chevron Service Station at Spring Mountain &
Douglas Fleming                                                                        Jones
C/O Richard R. Reed, Esq.                                                          J                                                             X
601 E. Charleston Blvd.
Las Vegas, NV 89104
                                                                                                                                                                  300,000.00
Account No. 27274100791239                                                             11/13/2004
                                                                                       Medical
EMCARE Center Emergency
Physicians                                                                         J                                                             X
c/o NCO Financial Systems, Inc.
P. O. Box 41417 Dept. 99
Philadelphia, PA 19101                                                                                                                                                  275.00

            4 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                  310,509.79
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 4168-1000-1442-1737                                                        3/5/2001                                                E
                                                                                       Credit Card Purchases                                   D

First Select
P. O. Box 660767                                                                   J                                                           X
Dallas, TX 75266-0767

                                                                                                                                                                  13,859.85
Account No. 4168-1000-1595-0437                                                        8/2002
                                                                                       Credit Card Purchases
First Select
P. O. Box 660767                                                                   J                                                           X
Dallas, TX 75266-0767

                                                                                                                                                                    5,036.64
Account No. 4168-1000-1571-7513/42168837-1                                             10/10/2002
                                                                                       Credit Card Purchases
First Select Corp.
Payment Processing                                                                 J                                                           X
P. O. Box 660767
Dallas, TX 75266-0767
                                                                                                                                                                  14,078.57
Account No. 5417-1226-6693-4342/4489355                                                3/4/2001
                                                                                       Credit Card
First USA Bank, N.A.
P. O. Box 15548                                                                    J                                                           X
Wilmington, DE 19886-5548

                                                                                                                                                                  34,825.00
Account No. AHMGHU00                                                                   8/4/2003 - 3/3/2004
                                                                                       Medical
Gary R. Lutz, D.O., LTD.1
6125 W. Sahara Ave., Ste. 1A                                                       J                                                           X
Las Vegas, NV 89146

                                                                                                                                                                   1,397.00

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Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  69,197.06
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. AHMA001076747-8                                                            8/25/2003                                               E
                                                                                       Medical                                                 D

Jackson Physical Therapy
4765 S. Durago Dr., Ste. 106                                                       J                                                           X
Las Vegas, NV 89147

                                                                                                                                                                      776.62
Account No. 01C-002657-001                                                             2/27/2001
                                                                                       Judgment - Lien on Home
Janis Kaye Webb
9121 Villa Ridge Dr.                                                               J                                                           X
Las Vegas, NV 89117

                                                                                                                                                                  20,000.00
Account No. 0928634                                                                    2/28/2001
                                                                                       Trade debt - Advertisement
Las Vegas Review-Journal
P. O. Box 730                                                                      J                                                           X
Las Vegas, NV 89125-0730

                                                                                                                                                                   1,459.31
Account No. 4800-1203-4804-9214/M31291-K24                                             10/3/2003
                                                                                       Credit Card Purchases
MBNA America
P. O. Box 15026                                                                    J                                                           X
Wilmington, DE 19850

                                                                                                                                                                  22,529.27
Account No. 4800-1203-4801-1644                                                        4/1992
                                                                                       Credit Card Purchases
MBNA America
P. O. Box 15028                                                                    J                                                           X
Wilmington, DE 19886-5028

                                                                                                                                                                   6,392.29

            6 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  51,157.49
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                               Case 05-11630-bam                             Doc 1          Entered 03/08/05 12:52:59            Page 23 of 62
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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. ECM00224                                                                   8/11/2002                                               E
                                                                                       Possible Duplicate Account                              D

MBNA Covenant Management
C/O Machol & Johannes, P.C.                                                        J                                                           X
600 17th St., Ste. 850 So. Dominion
Plaz
Denver, CO 80202                                                                                                                                                  Unknown
Account No. 7CH57810, 00838818/102502187                                               4/15/2002
                                                                                       Long Distance Service
MCI Communications
C/O Park Dansan                                                                    J                                                           X
P. O. Box 248
Gastonia, NC 28053
                                                                                                                                                                        32.17
Account No. 7CH57810/45591798/00938818                                                 2/16/2001
                                                                                       Phone Service
MCI WorldCom
P. O. Box 52252                                                                    J                                                           X
Phoenix, AZ 85072-2252

                                                                                                                                                                        43.42
Account No. 631976765                                                                  10/2004
                                                                                       Possible Duplicate Account
Medical
c/o NCO Fin/99                                                                     J                                                           X
P. O. Box 41466
Philadelphia, PA 19101
                                                                                                                                                                      611.00
Account No. 1239016826/95306                                                           4/2001
                                                                                       Possible Duplicate Account
Medical
C/O Aargon Collection Agency                                                       J                                                           X
3160 S. Valley View, Ste. 206
Las Vegas, NV 89102-8316
                                                                                                                                                                      144.00

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Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                      830.59
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 9A16790671797970                                                           2/2004                                                  E
                                                                                       Possible Duplicate Account                              D

Medical Payment Data
C/O Credit Bureau Central                                                          J                                                           X
P. O. Box 29299
Las Vegas, NV 89126
                                                                                                                                                                      407.00
Account No. 5417-1226-6693-4342/4489355                                                3/10/2003
                                                                                       Possible Duplicate Account
NCO Financial Systems, Inc.
Assignee of FUSA                                                                   J                                                           X
P. O. Box 41457
Philadelphia, PA 19101-1457
                                                                                                                                                                  26,990.56
Account No.                                                                            Medical

Nevada Care
10600 W. Charleston Blvd.                                                          J                                                           X
Las Vegas, NV 89135-1012

                                                                                                                                                                      205.00
Account No.                                                                            Potential Claim

Oakwood Communitites
8501 W. Charleston                                                             X J                                                             X
Las Vegas, NV 89117

                                                                                                                                                                  Unknown
Account No. 6011-6561-0081-9096                                                        2/18/2001
                                                                                       Credit Card Purchases
Office Depot Credit Card Plan
P. O. Box 9029                                                                     J                                                           X
Des Moines, IA 50368-9029

                                                                                                                                                                   2,342.00

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Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  29,944.56
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                               Case 05-11630-bam                             Doc 1          Entered 03/08/05 12:52:59            Page 25 of 62
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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 123356496/4123972-8388143/12*P                                             Wireless Service                                        E
                                                                                                                                               D

Pacific Bell Wireless
P. O. Box 989049                                                                   H                                                           X
West Sacramento, CA 95799

                                                                                                                                                                      353.41
Account No. 1113423/25/5213-87687/9A167&79                                             1/21/2004 - 10/15/2004
                                                                                       Medical
Quest Diagnostics
P. O. Box 79025                                                                    J                                                           X
Phoenix, AZ 85062-9025

                                                                                                                                                                    3,252.21
Account No. 607500-455-94-01-2/0928634                                                 2/16/2001
                                                                                       Trade debt - Trash removal services at 6075
Republic Services of Southern Nevada                                                   Spring Mountain Rd.
P. O. Box 98508                                                                    J                                                           X
Las Vegas, NV 89193-8508

                                                                                                                                                                   1,413.18
Account No.                                                                            6/10/2004
                                                                                       Medical
Richard L. Wagner, MD LTD
4275 Burnham, #310                                                                 J                                                           X
Las Vegas, NV 89119

                                                                                                                                                                      270.00
Account No. 01C-007825-001                                                             12/01/2001
                                                                                       Judgment - Lien on Home
Richland Holdings, Inc.
dba Acctcorp of Southern Nevada                                                    J                                                           X
4955 S. Decatur Dr.
Las Vegas, NV 89113
                                                                                                                                                                      542.92

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Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                   5,831.72
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                               Case 05-11630-bam                             Doc 1          Entered 03/08/05 12:52:59            Page 26 of 62
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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 303191                                                                     8/9/2004                                                E
                                                                                       Medical                                                 D

Rueben Cervantez Rpt., LTD.
6125 W. Sahara Ave., Ste. 1-A                                                      J                                                           X
Las Vegas, NV 89146

                                                                                                                                                                      164.00
Account No. 80-60523-507081                                                            Credit Card Purchases

Sears Card
P. O. Box 818017                                                                   J                                                           X
Cleveland, OH 44181-8017

                                                                                                                                                                      283.53
Account No. VSD900003591/96CG6Q                                                        3/27/2004 - 7/10/2004
                                                                                       Medical
Shadow Emergency Physicians
P. O. Box 13917                                                                    J                                                           X
Philadelphia, PA 19101-3917

                                                                                                                                                                      711.00
Account No. 100098771-A/33245422-10                                                    9/14/1999
                                                                                       Credit Card
Shell Credit Card Services
P. O. Box 98011                                                                    J                                                           X
Louisville, KY 40298-8011

                                                                                                                                                                      419.39
Account No. 900003591/1113425/2258-002020                                              1/30/2004 - 7/13/2004
                                                                                       Medical
Spring Valley Hospital
File 57361                                                                         J                                                           X
Los Angeles, CA 90074-7361

                                                                                                                                                                   2,429.44

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Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                   4,007.36
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 6942971                                                                    8/2003                                                  E
                                                                                       Phone Service                                           D

Sprint LTD
6200 Sprint Pkwy.                                                                  J                                                           X
Overland Park, KS 66251

                                                                                                                                                                      117.00
Account No. 17915501                                                                   9/1999
                                                                                       Co-signed Apartment Lease - Paid in full by
Summerhill Townhouse Apts.                                                             codebtor
C/O Sentry Recovery                                                                J                                                           X X
1810 E. Sahara Ave., Ste. 10
Las Vegas, NV 89104
                                                                                                                                                                      819.00
Account No. 1847300/1239-016826/1113425                                                5/27/2002 - 11/7/2003
                                                                                       Medical
Summerlin Hospital
P. O. Box 98549                                                                    J                                                           X
Las Vegas, NV 89193-8549

                                                                                                                                                                        55.14
Account No. 100098771                                                                  3/9/2001
                                                                                       Credit Card Purchases
Texaco
Associated Credit Card Services                                                    W                                                           X
P. O. Box 790066
Houston, TX 77279
                                                                                                                                                                      419.00
Account No. 4621-2010-3908-1075                                                        2/22/2001
                                                                                       Credit Card
The Associates
6400 Las Colinas Blvd., Ste. 200                                                   J                                                           X
Irving, TX 75039-2900

                                                                                                                                                                   5,570.00

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Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                   6,980.14
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                               Case 05-11630-bam                             Doc 1          Entered 03/08/05 12:52:59            Page 28 of 62
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   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 0216-6010-0124-1855                                                        12/1/2000                                               E
                                                                                       Credit Card Purchases                                   D

The Good Guys/HRS USA
P. O. Box 7010                                                                     J                                                           X
Anaheim, CA 92850-7010

                                                                                                                                                                    1,755.00
Account No.                                                                            4/3/2001
                                                                                       Two (2) Liens - Association Dues for house
Tiburon II Homeowners Association                                                      sold in 10/8/2001
1515 E. Tropicana, Ste. 350A                                                       J                                                           X
Las Vegas, NV 89119

                                                                                                                                                                    2,758.55
Account No. 174472100-A1/651Y8574680                                                   5/16/2000
                                                                                       Credit card purchases
Travelers Voluntary
C/O Dun & Bradstreet                                                               J                                                           X
P. O. Box 26446
Richmond, VA 23261-6446
                                                                                                                                                                      554.00
Account No. 2-9596-1783/7039002959617830                                               11/1/2001
                                                                                       Credit Card Purchases
Union 76
P. O. Box 7600                                                                     J                                                           X
Tulsa, OK 74101-7600

                                                                                                                                                                      372.97
Account No. 02049731845-31845/19719725                                                 1/2001
                                                                                       1995 Jeep Cherokee - leased auto voluntary
Union Bank of California                                                               return
P. O. Box 51774                                                                    H                                                           X
Los Angeles, CA 90051-6074

                                                                                                                                                                   1,809.38

            12 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                   7,249.90
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 Form B6F - Cont.
 (12/03)




   In re            Ghusudin Ahmadzai,                                                                                      Case No.
                    Ida M. Ahmadzai
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 4005385069/14015731/17502024/1                                             1/29/2001 - 7/14/2004                                   E
                                                                                       Medical                                                 D

University Medical Center
1800 W. Charleston Blvd.                                                           J                                                           X
Las Vegas, NV 89102

                                                                                                                                                                      492.35
Account No. 2-9596-1783/7639002959617830                                               7/26/1999
                                                                                       Credit Card
Unocal
P. O. Box 76600                                                                    J                                                           X
Tulsa, OK 74101-7600

                                                                                                                                                                      231.00
Account No. 615421428/7100054/30                                                       6/2002 -12/2002
                                                                                       Wireless Service
Verizon Wireless
P. O. Box 419067                                                                   J                                                           X
Rancho Cordova, CA 95741-9067

                                                                                                                                                                    2,101.00
Account No. AHMADZAI                                                                   6/30/2002 - 5/31/2003
                                                                                       Trade debt
Waite & Associates, Inc. CPA
2650 S. Maryland Pkwy., Ste. A3A                                                   J                                                           X
Las Vegas, NV 89109

                                                                                                                                                                   1,260.00
Account No. A472803/5474-6401-3051-2675                                                3/17/2001
                                                                                       Credit Card Purchases
Wells Fargo Card Services
P. O. Box 29491                                                                    J                                                           X
3115 N. 3rd Ave., Ste. 112
Phoenix, AZ 85038-9491
                                                                                                                                                                  46,375.66

            13 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  50,460.01
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 Form B6F - Cont.
 (12/03)




   In re            Ghusudin Ahmadzai,                                                                                            Case No.
                    Ida M. Ahmadzai
                                                                                                                         ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                      CREDITOR'S NAME,                                         O                                                                  O   N   I
                    AND MAILING ADDRESS                                        D   H                                                              N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                               B                                                                  I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                       (See instructions.)                                     R                                                                  E   D   D
                                                                                                                                                  N   A
                                                                                                                                                  T   T
Account No. 01-05302457/16320310008                                                    5/30/2001                                                      E
                                                                                       Notice of Default - House at 4639 Hamburg St.,                 D

Wells Fargo Home Mortgage                                                              Las Vegas, NV foreclosed on 10/8/2001
P. O. Box 54107                                                                    J                                                                  X
Los Angeles, CA 90054

                                                                                                                                                                         Unknown
Account No. 5410-3791-4979-8986                                                        Credit Card Purchases

Wells Fargo Processing Center
P. O. Box 29487                                                                    J                                                                  X
Phoenix, AZ 85038-9487

                                                                                                                                                                             907.76
Account No. 5490-9600-0472-9001/A490659                                                Credit Card Purchases - Law Suit

Wells Fargo Processing Center
P. O. Box 29487                                                                    J                                                                  X
Phoenix, AZ 85038-9487

                                                                                                                                                                         18,278.49
Account No.




Account No.




            14 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                            Subtotal
                                                                                                                                                                         19,186.25
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)               695,062.93


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  In re             Ghusudin Ahmadzai,                                                                               Case No.
                    Ida M. Ahmadzai
                                                                                                           ,
                                                                                           Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
               State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
               Provide the names and complete mailing addresses of all other parties to each lease or contract described.

               NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate
                     schedule of creditors.

                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re             Ghusudin Ahmadzai,                                                                        Case No.
                    Ida M. Ahmadzai
                                                                                                       ,
                                                                                           Debtors
                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
     debtor in the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should
     report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
     immediately preceding the commencement of this case.

               Check this box if debtor has no codebtors.

                     NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR

                     Daniel Vasquez                                                           Oakwood Communitites
                     4364 Coyote Crest Rd.                                                    8501 W. Charleston
                     Las Vegas, NV 89147                                                      Las Vegas, NV 89117




       0         continuation sheets attached to Schedule of Codebtors

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Form B6I
(12/03)


           Ghusudin Ahmadzai
 In re     Ida M. Ahmadzai                                                                    Case No.
                                                                  Debtor(s)


                             SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
 Debtor's Marital Status:                                             DEPENDENTS OF DEBTOR AND SPOUSE
                                         RELATIONSHIP                                                 AGE
                                              Son                                                        17
       Married


 EMPLOYMENT                                              DEBTOR                                                  SPOUSE
 Occupation                        Loan Officer/Self-employed                                 Unemployed
 Name of Employer
 How long employed                 1 year
 Address of Employer

 INCOME: (Estimate of average monthly income)                                                                 DEBTOR              SPOUSE
 Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)                 $              0.00    $            0.00
 Estimated monthly overtime                                                                          $              0.00    $            0.00

 SUBTOTAL                                                                                            $              0.00    $            0.00

       LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                                          $              0.00    $            0.00
       b. Insurance                                                                                  $              0.00    $            0.00
       c. Union dues                                                                                 $              0.00    $            0.00
       d. Other (Specify)                                                                            $              0.00    $            0.00
                                                                                                     $              0.00    $            0.00

       SUBTOTAL OF PAYROLL DEDUCTIONS                                                                $              0.00    $            0.00

 TOTAL NET MONTHLY TAKE HOME PAY                                                                     $              0.00    $            0.00

 Regular income from operation of business or profession or farm (attach detailed statement)         $              0.00    $            0.00
 Income from real property                                                                           $              0.00    $            0.00
 Interest and dividends                                                                              $              0.00    $            0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
 dependents listed above                                                                             $              0.00    $            0.00
 Social security or other government assistance
 (Specify)          Unemployment Benefits                                                            $              0.00    $          992.33
                                                                                                     $              0.00    $            0.00
 Pension or retirement income                                                                        $              0.00    $          620.00
 Other monthly income
 (Specify)         Loan Officer/Self employment                                                      $          2,000.00    $            0.00
                                                                                                     $              0.00    $            0.00


 TOTAL MONTHLY INCOME                                                                                $          2,000.00    $        1,612.33

 TOTAL COMBINED MONTHLY INCOME                          $                     3,612.33              (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of
this document:
                      Case 05-11630-bam              Doc 1      Entered 03/08/05 12:52:59                Page 34 of 62

         Ghusudin Ahmadzai
 In re   Ida M. Ahmadzai                                                                      Case No.
                                                                  Debtor(s)


             SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
labeled "Spouse."
Rent or home mortgage payment (include lot rented for mobile home)                                                   $            1,100.00
Are real estate taxes included?                                 Yes X             No
Is property insurance included?                                 Yes X             No
Utilities:         Electricity and heating fuel                                                                      $              180.00
                   Water and sewer                                                                                   $               40.00
                   Telephone                                                                                         $               80.00
                   Other      See Detailed Expense Attachment                                                        $              148.00
Home maintenance (repairs and upkeep)                                                                                $               75.00
Food                                                                                                                 $              650.00
Clothing                                                                                                             $               75.00
Laundry and dry cleaning                                                                                             $               60.00
Medical and dental expenses                                                                                          $              180.00
Transportation (not including car payments)                                                                          $              225.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                     $              100.00
Charitable contributions                                                                                             $                0.00
Insurance (not deducted from wages or included in home mortgage payments)
                   Homeowner's or renter's                                                                           $                0.00
                   Life                                                                                              $              140.00
                   Health                                                                                            $                0.00
                   Auto                                                                                              $               80.00
                   Other                                                                                             $                0.00
Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                           $                 0.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
                   Auto                                                                                              $                0.00
                   Other                                                                                             $                0.00
                   Other                                                                                             $                0.00
                   Other                                                                                             $                0.00
Alimony, maintenance, and support paid to others                                                                     $                0.00
Payments for support of additional dependents not living at your home                                                $                0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                         $              517.00
Other                                                                                                                $                0.00
Other                                                                                                                $                0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                     $                3,650.00

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other
regular interval.
A.   Total projected monthly income                                                                                  $                   N/A
B.   Total projected monthly expenses                                                                                $                   N/A
C.   Excess income (A minus B)                                                                                       $                   N/A
D.   Total amount to be paid into plan each                                                                          $                   N/A
                                                               (interval)
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         Ghusudin Ahmadzai
 In re   Ida M. Ahmadzai                                              Case No.
                                                 Debtor(s)

                   SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                        Detailed Expense Attachment
Other Utility Expenditures:
Cellular                                                                            $        60.00
Cable                                                                               $        45.00
Trash Removal                                                                       $        13.00
Internet                                                                            $        30.00
Total Other Utility Expenditures                                                    $       148.00
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                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             Ghusudin Ahmadzai
 In re       Ida M. Ahmadzai                                                                                         Case No.
                                                                                             Debtor(s)               Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                32  sheets [total shown on summary page plus 1], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date March 8, 2005                                                             Signature    /s/ Ghusudin Ahmadzai
                                                                                             Ghusudin Ahmadzai
                                                                                             Debtor


 Date March 8, 2005                                                             Signature    /s/ Ida M. Ahmadzai
                                                                                             Ida M. Ahmadzai
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Form 7
(12/03)

                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             Ghusudin Ahmadzai
 In re       Ida M. Ahmadzai                                                                                  Case No.
                                                                                             Debtor(s)        Chapter      7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o         business from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
               fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a
               joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income
               of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE (if more than one)
                           $19,210.00                               Southern Nevada Personal Care Inc.
                                                                    1701 S. Eastern, Las Vegas, NV 89104
                                                                    1/1/2003 - 12/31/2003 (W)
                           $13,486.29                               Nevada One Mortgage
                                                                    1/1/2004 - 12/31/2004 (H)
                           $8,942.32                                Silver State Checking
                                                                    1/1/2004 - 12/31/2004 (H)
                           $17,695.50                               Southern Nevada Personal Care Inc.
                                                                    1/1/2004 - 12/31/2004 (W)
                           $1,280.25                                Volt Management Corp.
                                                                    P. O. Box 13500, Orange, CA 92857
                                                                    1/1/2004 - 12/31/2004 (W)




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                                                                                                                                                                  2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     o         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $525.80                                  Merril Lynch Trust Co., FSB.
                                                                    Autonation 401(k) Plan
                                                                    P. O. Box 1551, Pennington, NJ 08534
                                                                    1/1/2003 - 12/31/2003 (H)
                           $6,939.36                                State of California
                                                                    Public Employee's Retirement System
                                                                    P. O. Box 942716, Sacramento, CA 94229-2716
                                                                    1/1/2003 - 12/31/2003 (W)
                           $7,078.32                                State of California
                                                                    1/1/2004 - 12/31/2004 (W)
                           $1,145.00                                Unemployment Benefits
                                                                    1/1/2004 - 12/31/2004 (W)
                           $1,240.00                                State of California
                                                                    1/1/2005 - 2/2005 (W)
                           $1,985.00                                Unemployment Benefits
                                                                    1/1/2005 - 2/2005 (W)

               3. Payments to creditors

    None       a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
     o         made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
               must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
               petition is not filed.)

 NAME AND ADDRESS                                                                   DATES OF                                               AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                             AMOUNT PAID           OWING
 Wells Fargo Home Mortgage, Inc.                                                   12/2004, 1/2005 & 2/2005                $3,300.00       $126,461.00
 P. O. Box 10335
 Des Moines, IA 50306-0335

    None       b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who
     n         are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                          AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                      AMOUNT PAID          OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     o         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                STATUS OR
 AND CASE NUMBER               NATURE OF PROCEEDING                                          AND LOCATION                   DISPOSITION
 American Express Travel       Summons and Complaint                                         Justice Court, Las Vegas       Writ of Execution
 Related Services, Inc., a New                                                               Township
 York Corporation, vs.                                                                       Clark County, Nevada
 Ghusudin W. Ahmadzai.
 01C000782001




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                                                                                                                                                                  3

 CAPTION OF SUIT                                                                             COURT OR AGENCY                  STATUS OR
 AND CASE NUMBER              NATURE OF PROCEEDING                                           AND LOCATION                     DISPOSITION
 Cavlary Portfolio Services,  Summons and Complaint                                          District Court                   Unknown
 LLC., as Assignee of Cavalry                                                                Clark County, Nevada
 Investments, LLC., as
 assignee of Wells Fargo
 Business Line, vs. Ghusudin
 W. Ahmadzai
 A472803
 Janis Kaye Webb vs.        Summons and Complaint                                            Justice Court, Las Vegas         Unknown
 Ghusuolin Ahmadzai and Ida                                                                  Township
 Ahmadzai                                                                                    Clark County, Nevada
 01C-002657-001
 Douglas Fleming vs G. W.                        Summons and Complaint                       Justice Court, Las Vegas         Unknown
 Ahmadzai                                                                                    Township
 99-A-410530-C                                                                               Clark County, Nevada
 Richard Holdings, Inc. dba Summons and Complaint                                            Justice Court, Las Vegas         Judgment by Default - Lien
 Acctcorp of Southern                                                                        Township
 Nevada, a Nevada                                                                            Clark County, Nevada
 Corporation vs. Ghusudin
 Ahmadzai, and Ida Ahmadzai
 01C-007825-001
 Curtis Branom vs. Ghusudin Verified Complaint                                               District Court                   Notice of Lis Pendens
 B. Ahmadzai, et al                                                                          Clark County, Nevada
 A415748
 K.O. Associates, as                             Summons and Complaint                       Eighth Judicial District Court   Unknown
 Successor in Interest to                                                                    Clark County, Nevada
 Wells Fargo, vs. Ghusudin
 W. Ahmadzai, et al
 A490659

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                     DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                  PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,              DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                      PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                          TERMS OF ASSIGNMENT OR SETTLEMENT




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                                                                                                                                                                 4
    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     o         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                             OF PROPERTY
 Roger P. Croteau & Associates Ltd.                                               12/2004                               209.00 Filing Fee
 720 South Fourth Street, Suite 202                                                                                     $791.00 Attorney Fees
 Las Vegas, NV 89101

               10. Other transfers

    None       List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
     n         either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under
               chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED




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                                                                                                                                                                5

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     n         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                                        DIGITS OF ACCOUNT NUMBER,        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                       AND AMOUNT OF FINAL BALANCE              OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                     DESCRIPTION               DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                     OF CONTENTS                SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                        LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
     n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                              DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME




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                                                                                                                                                               6

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                      DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                   LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                      DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                   LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     o         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership,
               sole proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or
               in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
               commencement of this case.
                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities, within the six years immediately preceding the commencement of this case.
                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities within the six years immediately preceding the commencement of this case.

                                        TAXPAYER                                                                            BEGINNING AND ENDING
 NAME                                   I.D. NO. (EIN)             ADDRESS                      NATURE OF BUSINESS          DATES
 Spring Mountain Shell                  XX-XXXXXXX                 6075 W. Spring               Gas Station                 1/1998 - 2/2001
                                                                   Mountain Rd
                                                                   Las Vegas, NV 89146-
                                                                   8816

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS




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                                                                                                                                                                7

    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor or otherwise self-employed.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
     n         supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     n         of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                   DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     n         of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     n         issued within the two years immediately preceding the commencement of this case by the debtor.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     n         and the dollar amount and basis of each inventory.

                                                                                                                 DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                         PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     n         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP




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                                                                                                                                                              8

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n         commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     n         immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                              DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     n         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n         group for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the
               commencement of the case.

 NAME OF PARENT CORPORATION                                                                                        TAXPAYER IDENTIFICATION NUMBER

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
     n         employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the
               case.

 NAME OF PENSION FUND                                                                                              TAXPAYER IDENTIFICATION NUMBER


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 8, 2005                                                             Signature    /s/ Ghusudin Ahmadzai
                                                                                             Ghusudin Ahmadzai
                                                                                             Debtor


 Date March 8, 2005                                                             Signature    /s/ Ida M. Ahmadzai
                                                                                             Ida M. Ahmadzai
                                                                                             Joint Debtor
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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Official Form 8
(12/03)

                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             Ghusudin Ahmadzai
 In re       Ida M. Ahmadzai                                                                                           Case No.
                                                                                             Debtor(s)                 Chapter      7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
1.    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

2.    I intend to do the following with respect to the property of the estate which secures those consumer debts:

             a. Property to Be Surrendered.
              Description of Property                                                              Creditor's name
              -NONE-


             b. Property to Be Retained                                                                             [Check any applicable statement.]
                                                                                                                              Property will be Debt will be
                                                                                                            Property is       redeemed         reaffirmed
                                                                                                            claimed as        pursuant to 11   pursuant to 11
              Description of Property                  Creditor's Name                                      exempt            U.S.C. § 722     U.S.C. § 524(c)
 1.           Residence                                Wells Fargo Home                                     Debtor will retain collateral and continue to
              Location: 4701 Ashington St., Las        Mortgage, Inc.                                       make regular payments.
              Vegas NV
              Tiburon 2 Phase 2, Plat Book 76, Page
              98, Lot 72, Block 4. APN: 163-20-312-017


 Date March 8, 2005                                                             Signature    /s/ Ghusudin Ahmadzai
                                                                                             Ghusudin Ahmadzai
                                                                                             Debtor


 Date March 8, 2005                                                             Signature    /s/ Ida M. Ahmadzai
                                                                                             Ida M. Ahmadzai
                                                                                             Joint Debtor




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                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             Ghusudin Ahmadzai
 In re       Ida M. Ahmadzai                                                                                           Case No.
                                                                                             Debtor(s)                 Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                          $                  791.00
              Prior to the filing of this statement I have received                                                $                  791.00
              Balance Due                                                                                          $                    0.00

2.     $     209.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

              n    Debtor             o Other (specify):

4.     The source of compensation to be paid to me is:

              n    Debtor             o Other (specify):

5.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       March 8, 2005                                                                  /s/ Roger P. Croteau
                                                                                             Roger P. Croteau
                                                                                             Roger P. Croteau & Associates Ltd.
                                                                                             720 South Fourth Street, Suite 202
                                                                                             Las Vegas, NV 89101
                                                                                             (702) 254-7775 Fax: (702) 228-7719
                                                                                             croteau@croteaulaw.com




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                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             Ghusudin Ahmadzai
 In re       Ida M. Ahmadzai                                                                                  Case No.
                                                                                             Debtor(s)        Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      March 8, 2005                                                       /s/ Ghusudin Ahmadzai
                                                                                Ghusudin Ahmadzai
                                                                                Signature of Debtor

 Date:      March 8, 2005                                                       /s/ Ida M. Ahmadzai
                                                                                Ida M. Ahmadzai
                                                                                Signature of Debtor




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                  Ghusudin Ahmadzai
                  Ida M. Ahmadzai
                  4701 Ashington St.
                  Las Vegas, NV 89147-6069
                  Roger P. Croteau
                  Roger P. Croteau & Associates Ltd.
                  720 South Fourth Street, Suite 202
                  Las Vegas, NV 89101

                  Aargon Collection Agency
                  3160 S. Valley View, Ste. 206
                  Las Vegas, NV 89102-8316
                  Aargon Collection Agency
                  3160 S. Valley View, Ste. 206
                  Las Vegas, NV 89102

                  Accent Service Co.
                  7171 Mercy Rd., Ste. 150
                  Omaha, NE 68106-2626
                  Alan J. Arnold, M.D.
                  Acct No 20583/1177-1
                  C/O Acctcorp of Southern Nevada
                  4955 S. Durango, Ste. 177
                  Las Vegas, NV 89113-0155

                  Allied Collection Serv.
                  1800 E. Sahara Ave., Ste. 104
                  Las Vegas, NV 89104
                  Allied Interstate, Inc.
                  Consumer Service Dept.
                  P. O. Box 2455
                  Chandler, AZ 85244-2455
                  Allied Interstate, Inc.
                  23945 Calabasas Rd., #210
                  Calabasas, CA 91302
                  American Express
                  Acct No 026745134019347863
                  P. O. Box 297871
                  Fort Lauderdale, FL 33329
                  American Express Travel Mgmt. Svcs.
                  Acct No 1C000782001/373273824682001
                  American Expressway Tow
                  New York, NY 10001
                  American Recovery Service, Inc.
                  555 St. Charles Dr., Ste. 100
                  Thousand Oaks, CA 91360
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              Andres Padilla Garcia
              3520 S. Jones
              Las Vegas, NV 89103
              APL
              Acct No AXXXXXXXX
              4230 Burnham Ave.
              Las Vegas, NV 89119
              Arrow Auto Associates
              Acct No 9601020/0171181/9404505C/KO023
              C/O Stephen C. Duringer & Associates
              18002 Cowan, 1st. Fl.
              Irvine, CA 92614-6812

              Arrow Financial Sevices, LLC
              5996 W. Touhy Ave.
              Niles, IL 60714-4610
              Associates Credit Card Services, Inc.
              Acct No 4621-2010-3081-5273/3908-1075/
              6400 Las Colinas Blvd., Ste. 200
              Irving, TX 75039-2900
              AutoZone
              Acct No 335766
              4850 S. Jones, #B
              Las Vegas, NV 89103
              Bank of America
              Acct No 4168100015717513/1K24750/10712
              1825 E. Buckeye Rd.
              Phoenix, AZ 85034
              Bank of America
              Acct No 4024-0238-2140-5970
              P. O. Box 53137
              Phoenix, AZ 85072-3137

              Bank of America
              Acct No 4024-0250-0011-5742
              Dept.#AZ9-503-02-16
              P. O. Box 53105
              Phoenix, AZ 85072-3105
              Bank of America Visa/Nations Bank
              Acct No 4746-8600-0021-4864
              P. O. Box 85350
              Louisville, KY 40285-5350
              Bank of America/North Star Capital Acq.
              C/O Zenith Acquisition Corp.
              P. O. Box 850
              Amherst, NY 14226-0850
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              Bank of America/RMA Holdings, LLC
              Acct No 12534481/0002179987
              C/O Risk Management Alternatives, Inc.
              P. O. Box 105044
              Atlanta, GA 30348
              Bank of America/RMA Portfolio Services,
              C/O Risk Management Alternatives, Inc.
              P. O. Box 105044
              Atlanta, GA 30348
              Bell & Young, Ltd.
              Tracy M. Rau, Esq.
              4001 Meadows Ln.
              Las Vegas, NV 89107
              Callister & Reynolds
              Attorneys at Law
              823 Las Vegas Blvd. So.
              Las Vegas, NV 89101
              Cavalry Portfolio Services, LLC
              P. O. Box 27288
              Tempe, AZ 85282-7288
              Cavalry Portfolio Services, LLC
              P. O. Box 1030
              Hawthorne, NY 10532
              Cavalry Portfolio Services, LLC.
              C/O Robert S. Qualey, Esq.
              20 Bonneville Ave.
              Las Vegas, NV 89101
              CBUSA Sears
              Acct No 5049-9480-1595
              P. O. Box 6189
              Sioux Falls, SD 57117

              Center Emergency Physicians
              Acct No VSD2727410
              P. O. Box 13909
              Philadelphia, PA 19101-3909

              Chevron Credit Bank, N.A.
              Acct No 721-808-795-0
              P. O. Box 5010 Sect. 230
              Concord, CA 94524-0010
              Chevron Credit Bank, N.A.
              P. O. Box 5010 Sect. 230
              Concord, CA 94524-0001
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              Chevron USA, Inc.
              C/O Elizabeth G. Gonzalez, Esq.
              1830 E. Sahara Ave., #102
              Las Vegas, NV 89104
              Clark County
              Acct No G10406024RND
              C/O R.L. Gresham/Carl Warren & Co.
              2410 Fire Mesa St., Ste. 110
              Las Vegas, NV 89128
              Coldata Collection Companies
              1979 Marcus Ave., Ste. 100
              Lake Success, NY 11042

              Coldata, Inc.
              1979 Marcus Ave., Ste. 100
              Lake Success, NY 11042
              Collection Company of America
              P. O. Box 16389
              North Hollywood, CA 91615-6389

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              C/O Machol & Johannes, P.C.
              600 Seventeenth St.
              Denver, CO 80202

              Covenant Management Group, LLC/Associate
              C/O Bennett & Deloney, P.C.
              1265 E. Fort Union Blvd., Ste. 150
              Midvale, UT 84047-1808
              Craig A. Hoppe
              C/O Robert Guinta, P.C.
              608 S. Sixth St.
              Las Vegas, NV 89101
              Credigy
              3950 Johns Creek Ct., Ste.
              Suwanee, GA 30024
              Credit Bureau Central
              P. O. Box 29299
              Las Vegas, NV 89126-3299
              Credit Bureau Central
              2355 Red Rock St., Ste. 200
              Las Vegas, NV 89146
              Curtis Branom
              Acct No A415748
              4339 Coyote Crest Ct.
              Las Vegas, NV 89147
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              Daniel Vasquez
              4363 Coyote Crest Rd.
              Las Vegas, NV 89147
              Department of Motor Vehicles
              555 Wright Way
              Carson City, NV 89711-0250
              Desert Radiologist
              3090 S. Durango, Ste. 200
              Las Vegas, NV 89117
              Desert Radiologists
              Acct No DR1639548/631473/651827
              C/O Professional Billing
              2355 Redrock St., #103
              Las Vegas, NV 89146-3161

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              3090 S. Durango #200
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              Independence, OH 44131
              eCast Settlement Corporation
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              Philadelphia, PA 19170-6818
              EMCARE Center Emergency Physicians
              Acct No 27274100791239
              c/o NCO Financial Systems, Inc.
              P. O. Box 41417 Dept. 99
              Philadelphia, PA 19101
              Emergency Physicians Med. Gr. - UMC
              P. O. Box 79344
              City Of Industry, CA 91716-9344
Case 05-11630-bam   Doc 1   Entered 03/08/05 12:52:59   Page 53 of 62



              Employer Insurance Co. of Nevada
              Acct No NWC3004763
              C/O Allied Interstate, Inc.
              23945 Clabasas Rd., #210
              Calabasas, CA 91302
              Employment Security Department
              Field Audit Office
              300 East Third St.
              Carson City, NV 89713-0030
              Experian
              P. O. Box 9595
              Allen, TX 75013

              Fatima Monroe
              2033 Rock Springs Dr., 2089
              Las Vegas, NV 89128
              First National Collection Bureau, Inc.
              3631 Warren Way
              Reno, NV 89509

              First Select
              Acct No 4168-1000-1442-1737
              P. O. Box 660767
              Dallas, TX 75266-0767

              First Select Corp.
              Acct No 4168-1000-1571-7513/42168837-1
              Payment Processing
              P. O. Box 660767
              Dallas, TX 75266-0767
              First Select Corp. Fleet Bank Credit Car
              C/O Law Offices of Mitchell N. Kay
              P. O. Box 9006
              Smithtown, NY 11787-9006

              First Select Corp./Fleet Bank Credit Car
              C/O Plaza Associates
              Jaf Station, P. O. Box 2769
              New York, NY 10116-2769

              First Select, Inc./Covenant Management
              C/O Machol & Johannes, P.C.
              600 Seventeenth St.
              Denver, CO 80202-5442
              First USA Bank, N.A.
              Acct No 5417-1226-6693-4342/4489355
              P. O. Box 15548
              Wilmington, DE 19886-5548
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              Gary R. Lutz, D.O., LTD.1
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              Household Bank (SB), N.A.
              P. O. Box 4144
              Carol Stream, IL 60197-4144
              HSBC/RS
              90 Christiana Rd.
              New Castle, DE 19720
              Internal Revenue Service
              Acct No SQ2000072800888
              Stop 5028
              4750 W. Oakey Blvd.
              Las Vegas, NV 89102
              Jackson Physical Therapy
              Acct No AHMA001076747-8
              4765 S. Durago Dr., Ste. 106
              Las Vegas, NV 89147
              Janis Kaye Webb
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              Las Vegas, NV 89117
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              Henderson, NV 89014
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              The Wolfenzon Law Group
              4530 S. Eastern Ave., Ste. 9
              Las Vegas, NV 89119
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              Labor Commission Nevada
              555 E. Washington Ave., Ste. 4100
              Las Vegas, NV 89101
              Las Vegas Review-Journal
              Acct No 0928634
              P. O. Box 730
              Las Vegas, NV 89125-0730
              Law Offices of Keneth G. Frizzell, III
              P. O. Box 28039
              Las Vegas, NV 89126-2039
              MBNA America
              Acct No 4800-1203-4804-9214/M31291-K24
              P. O. Box 15026
              Wilmington, DE 19850

              MBNA America
              Acct No 4800-1203-4801-1644
              P. O. Box 15028
              Wilmington, DE 19886-5028

              MBNA Covenant Management
              Acct No ECM00224
              C/O Machol & Johannes, P.C.
              600 17th St., Ste. 850 So. Dominion Plaz
              Denver, CO 80202
              MCI Communications
              Acct No 7CH57810, 00838818/102502187
              C/O Park Dansan
              P. O. Box 248
              Gastonia, NC 28053
              MCI WorldCom
              Acct No 7CH57810/45591798/00938818
              P. O. Box 52252
              Phoenix, AZ 85072-2252
              MCI WorldCom
              C/O Consumer Markets
              3470 Rider Trial South
              Earth City, MO 63045
              Medical
              Acct No 631976765
              c/o NCO Fin/99
              P. O. Box 41466
              Philadelphia, PA 19101
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              Medical
              Acct No 1239016826/95306
              C/O Aargon Collection Agency
              3160 S. Valley View, Ste. 206
              Las Vegas, NV 89102-8316
              Medical Payment Data
              Acct No 9A16790671797970
              C/O Credit Bureau Central
              P. O. Box 29299
              Las Vegas, NV 89126
              Messerli & Kramer
              3033 Campus Dr., Ste. 250
              Minneapolis, MN 55441
              National Financial Group, Inc.
              6110 Executive Blvd., Ste. 305
              Rockville, MD 20852
              Nationwide Credit, Inc.
              3835 N. Freeway Blvd., Ste. 100
              Sacramento, CA 95834
              NCO Financial Systems, Inc.
              Acct No 5417-1226-6693-4342/4489355
              Assignee of FUSA
              P. O. Box 41457
              Philadelphia, PA 19101-1457
              NCO Financial Systems, Inc.
              P. O. Box 41457
              Philadelphia, PA 19101-1457
              Nevada Care
              10600 W. Charleston Blvd.
              Las Vegas, NV 89135-1012
              Nevada Department of Taxation
              Acct No SQ99051100736
              Attn: Bankruptcy Section
              555 E. Washington Ave., #1300
              Las Vegas, NV 89101

              NV Dept. of Employment Training and Reh.
              500 E. Third St.
              Carson City, NV 89713
              Oakwood Communitites
              8501 W. Charleston
              Las Vegas, NV 89117

              ODPC/CBUSA
              P. O. Box 9102
              Gray, TN 37615
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              Office Depot Credit Card Plan
              Acct No 6011-6561-0081-9096
              P. O. Box 9029
              Des Moines, IA 50368-9029
              Office of the Sheriff
              Attn: Civil Process Section
              P. O. Box 553220
              Las Vegas, NV 89155-3220

              Office of U.S. Trustee
              300 S. Las Vegas Blvd., #4300
              Las Vegas, NV 89101
              P'O'M Recoveries, Inc.
              P. O. Box 602
              Lindenhurst, NY 11757-0602

              Pacific Bell Wireless
              Acct No 123356496/4123972-8388143/12*P
              P. O. Box 989049
              West Sacramento, CA 95799

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              Plaza Associates
              JAF Station, P. O. Box 2769
              New York, NY 10116-2769

              PlusFour, Inc.
              P. O. Box 95846
              Las Vegas, NV 89193
              Porgressive Management Systems
              P. O. Box 2220
              West Covina, CA 91793-9917

              Primary Financial Services, L.L.C.
              3115 N. 3rd Ave., Ste. 112
              Phoenix, AZ 85013
              Pro Consulting Collection Agency
              P. O. Box 66510
              Houston, TX 77266

              Professional Collection Consultants
              P. O. Box 45274
              Los Angeles, CA 90045-0274
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              Progressive Management Systems
              1521 W. Cameron Ave.
              West Covina, CA 91793
              Quantum Collections
              P. O. Box 364389
              North Las Vegas, NV 89036-8389
              Quest Diagnostics
              Acct No 1113423/25/5213-87687/9A167&79
              P. O. Box 79025
              Phoenix, AZ 85062-9025
              Receivables Management Solutions, Inc.
              260 E. Wentworth Ave.
              Saint Paul, MN 55118
              Republic Services of Southern Nevada
              Acct No 607500-455-94-01-2/0928634
              P. O. Box 98508
              Las Vegas, NV 89193-8508
              Richard L. Wagner, MD LTD
              4275 Burnham, #310
              Las Vegas, NV 89119
              Richland Holdings, Inc.
              Acct No 01C-007825-001
              dba Acctcorp of Southern Nevada
              4955 S. Decatur Dr.
              Las Vegas, NV 89113
              Robert G. Giunta, Esq.
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              Ronald H. Reynolds, Esq.
              823 Las Vegas Blvd. South
              Las Vegas, NV 89101

              Rueben Cervantez Rpt., LTD.
              Acct No 303191
              6125 W. Sahara Ave., Ste. 1-A
              Las Vegas, NV 89146
              Sears Card
              Acct No 80-60523-507081
              P. O. Box 818017
              Cleveland, OH 44181-8017
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              Shadow Emergency Physicians
              Acct No VSD900003591/96CG6Q
              P. O. Box 13917
              Philadelphia, PA 19101-3917
              Shell Credit Card Services
              Acct No 100098771-A/33245422-10
              P. O. Box 98011
              Louisville, KY 40298-8011

              Shell Credit Card Services
              Associates Credit Card Services
              330 Barker Cypress Rd.
              Houston, TX 77094

              Spring Valley Hospital
              Acct No 900003591/1113425/2258-002020
              File 57361
              Los Angeles, CA 90074-7361
              Sprint LTD
              Acct No 6942971
              6200 Sprint Pkwy.
              Overland Park, KS 66251
              State of Nevada
              Acct No A407537
              Office of the Attorney General
              555 E. Washington Ave., Ste. 3900
              Las Vegas, NV 89101

              Steve Hall
              800 N. Rainbow Blvd., Ste. 218
              Las Vegas, NV 89107
              Summerhill Townhouse Apts.
              Acct No 17915501
              C/O Sentry Recovery
              1810 E. Sahara Ave., Ste. 10
              Las Vegas, NV 89104
              Summerlin Hospital
              Acct No 1847300/1239-016826/1113425
              P. O. Box 98549
              Las Vegas, NV 89193-8549
              Taxation Nevada
              1550 E. College Pkwy., Ste. 115
              Carson City, NV 89706
              Texaco
              Acct No 100098771
              Associated Credit Card Services
              P. O. Box 790066
              Houston, TX 77279
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              The Associates
              Acct No 4621-2010-3908-1075
              6400 Las Colinas Blvd., Ste. 200
              Irving, TX 75039-2900
              The Associates Preferred Value
              Processing Center
              Des Moines, IA 50363-2200
              The Good Guys/HRS USA
              Acct No 0216-6010-0124-1855
              P. O. Box 7010
              Anaheim, CA 92850-7010
              The Sagres Company
              P. O. Box 12688
              La Jolla, CA 92039

              Tiburon II Homeowners Association
              1515 E. Tropicana, Ste. 350A
              Las Vegas, NV 89119
              Travelers Voluntary
              Acct No 174472100-A1/651Y8574680
              C/O Dun & Bradstreet
              P. O. Box 26446
              Richmond, VA 23261-6446

              Treasurer Clark County
              P. O. Box 551220
              Las Vegas, NV 89155-1220
              Tritium Card Services, Inc.
              51 Charles Lindberg Blvd.
              Uniondale, NY 11553

              Unifund Corp.
              11802 Conrey Rd.
              Cincinnati, OH 45249
              Union 76
              Acct No 2-9596-1783/7039002959617830
              P. O. Box 7600
              Tulsa, OK 74101-7600
              Union 76
              P. O. Box 85680
              Louisville, KY 40285-5680
              Union Bank of California
              Acct No 02049731845-31845/19719725
              P. O. Box 51774
              Los Angeles, CA 90051-6074
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              United Recovery Systems, LP
              P. O. Box 722929
              Houston, TX 77272-2929
              University Medical Center
              Acct No 4005385069/14015731/17502024/1
              1800 W. Charleston Blvd.
              Las Vegas, NV 89102
              Unocal
              Acct No 2-9596-1783/7639002959617830
              P. O. Box 76600
              Tulsa, OK 74101-7600
              Verizon Wireless
              Acct No 615421428/7100054/30
              P. O. Box 419067
              Rancho Cordova, CA 95741-9067
              Verizon Wireless
              1700 Sawtelle Blvd.
              Los Angeles, CA 90025

              Waite & Associates, Inc. CPA
              Acct No AHMADZAI
              2650 S. Maryland Pkwy., Ste. A3A
              Las Vegas, NV 89109

              Wells Fargo Card Services
              Acct No A472803/5474-6401-3051-2675
              P. O. Box 29491
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              Phoenix, AZ 85038-9491
              Wells Fargo Home Mortgage
              Acct No 01-05302457/16320310008
              P. O. Box 54107
              Los Angeles, CA 90054

              Wells Fargo Home Mortgage, Inc.
              Acct No 6852911194
              P. O. Box 10335
              Des Moines, IA 50306-0335

              Wells Fargo Processing Center
              Acct No 5410-3791-4979-8986
              P. O. Box 29487
              Phoenix, AZ 85038-9487
              Worldwide Asset Purchasing, LLC
              C/O Pacific Coast Collections, Inc.
              8665 Gibbs Dr., Ste. 204
              San Diego, CA 92123
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              Wyse Financial Services, Inc.
              3410 S. Galena St., Ste. 250
              Denver, CO 80231
